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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND



MAYOR AND CITY COUNCIL OF
BALTIMORE, et al.,

                       Plaintiffs,

vs.                                                Case No. 18-cv-3560-GLR

ACTELION PHARMACEUTICALS LTD.,
et al.,

                       Defendants.



                   JOINT MOTION TO AMEND SCHEDULING ORDER

       Pursuant to Federal Rules of Civil Procedure 16(b)(4) and 29(b) and this Court’s Amended

Scheduling Order dated June 17, 2021 (Dkt. No. 72), Plaintiffs Mayor and City Council of

Baltimore and Government Employees Health Association (“Plaintiffs”) and Defendants Actelion

Pharmaceuticals Ltd., Actelion Pharmaceuticals US, Inc., and Janssen Research & Development,

LLC (“Defendants”) hereby jointly submit the following:

       1.       On June 17, 2021, this Court ordered that discovery be substantially completed by

October 29, 2021, and that all discovery be completed by January 31, 2021. (Dkt. No. 72).

       2.       The Parties are making diligent efforts to come to agreement on the appropriate

protocols to obtain full and complete discovery in this case. To that end, the Parties have reached

agreement on a Protective Order, (Dkt. No. 80) and search terms and custodians for the collection

of documents responsive to the Parties’ initial Requests for Production of Documents, and have

made significant progress towards agreement on electronic search and privilege log protocols, and

the scope of discovery relating to the Parties’ initial Requests for Production.
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       3.       Despite their diligent efforts, the Parties agree that additional time is needed to

obtain full and complete fact discovery beyond the time contemplated by the June 17, 2021

Scheduling Order. With all other deadlines in the Scheduling Order contingent on the completion

of fact discovery, the Parties also seek to amend all remaining deadlines in the Scheduling Order.

4.     A jointly proposed Amended Scheduling Order is attached, which the Parties have

discussed and consider necessary and appropriate.

Dated: October 28, 2021                       Respectfully submitted,


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                                 CERTIFICATE OF SERVICE


       I, Sharon K. Robertson, hereby certify that I caused a copy of the foregoing to be filed

electronically via the Court’s CM/ECF system. Those attorneys who are registered CM/ECF users

may access these filings, and notice of these filings will be sent to those parties by operation of the

CM/ECF system.


Dated: October 28, 2021                                /s/ Sharon K. Robertson
                                                       Sharon K. Robertson




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